Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 1 of 7 Page ID #:486




                         Exhibit K
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 2 of 7 Page ID #:487
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 3 of 7 Page ID #:488
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 4 of 7 Page ID #:489
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 5 of 7 Page ID #:490
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 6 of 7 Page ID #:491
Case 2:19-cv-08109-SVW-MAA Document 46-18 Filed 10/26/20 Page 7 of 7 Page ID #:492
